Case 4:08-cr-00051-CVE Document 540 Filed in USDC ND/OK on 11/17/09 Page 1 of 5




                       UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )
 v.                                                    )       Case No. 08-CR-0051-001-CVE
                                                       )
 MANUEL BONILLA,                                       )
 a/k/a “Carlos Contreras,”                             )
                                                       )
                        Defendant.                     )


                                     OPINION AND ORDER

        Now before the Court is the government’s Unopposed Motion to Declare this Case a

 Complex Case Pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(8)(B)(ii)1 (Dkt. # 539). The

 government asks the Court to declare this a complex case under the Speedy Trial Act, 18 U.S.C. §

 3161, as to defendant Manuel Bonilla. Defendant does not oppose the government’s motion.

        On March 6, 2008, the Grand Jury returned an indictment against defendant Manuel Bonilla

 and 10 others, alleging that defendants participated in a conspiracy to violate the federal drug laws

 in violation of 21 U.S.C. § 846. Dkt. # 2. Due to the amount of evidence and the number of

 defendants, the Court declared this matter a complex case and extended the jury trial date beyond

 the 70 day time period permitted by the Speedy Trial Act. Dkt. # 69. The Grand Jury subsequently

 returned a superseding indictment (Dkt. # 169) and second superseding indictment (Dkt. # 222),

 adding defendants and clarifying the charges against each defendant. All defendants, except Omar

 Cruz and Manuel Bonilla, have pled guilty or been convicted by a jury, and have been sentenced.



 1
        The Court notes that the statute has been amended, and the provision that the government
        intends to cite is located at 18 U.S.C. § 3161(h)(7)(B)(ii).
Case 4:08-cr-00051-CVE Document 540 Filed in USDC ND/OK on 11/17/09 Page 2 of 5




 Manuel Bonilla made his initial appearance on November 6, 2009, but Omar Cruz has not been

 arrested. See Dkt. # 534. The Court has appointed counsel for Manuel Bonilla and entered a

 scheduling order setting trial for December 21, 2009. Dkt. # 537. The government asks the Court

 to declare this a complex case as to defendant Manuel Bonilla due to the amount of evidence that

 defense counsel must review to draft pretrial motions and prepare for trial. The government states

 that there are thousands of pages of discovery materials, “includ[ing] Title III wiretap affidavits,

 applications, orders, and related reports regarding three court-authorized wiretaps on a cellular

 telephone that collectively involve hundreds of recorded conversations that are in the Spanish

 language.” Dkt. # 539, at 2. The government estimates that it will produce at least 5,000 pages of

 documents to defense counsel before trial.

        The government’s request to declare this a complex case falls under § 3161(h)(7)(A) of the

 Speedy Trial Act. Section 3161(h)(7)(A) permits a court to exclude:

        [a]ny period of delay resulting from a continuance granted by any judge on his own
        motion or at the request of the defendant or his counsel or at the request of the
        attorney for the Government, if the judge granted the continuance on the basis of his
        findings that the ends of justice served by taking such action outweigh the best
        interest of the public and the defendant in a speedy trial. No such period of delay
        resulting from a continuance granted by the court in accordance with this paragraph
        shall be excludable under this subsection unless the court sets forth, in the record of
        the case, either orally or in writing, its reasons for finding that the ends of justice
        served by the granting of such continuance outweigh the best interests of the public
        and the defendant in a speedy trial.

 The Act provides several factors that may be relevant for an ends of justice continuance. In this

 case, the government relies on § 3161(h)(7)(B)(ii), which states that a district judge should consider:

        [w]hether the case is so unusual or so complex, due to the number of defendants, the
        nature of the prosecution, or the existence of novel questions of fact or law that it is
        unreasonable to expect adequate preparation for pretrial proceedings or for the trial
        itself within the time limits established by this section.


                                                   2
Case 4:08-cr-00051-CVE Document 540 Filed in USDC ND/OK on 11/17/09 Page 3 of 5




     The Tenth Circuit has been clear that an ends of justice continuance should not be granted

 “cavalierly.” United States v. Williams, 511 F.3d 1044, 1048-49 (10th Cir. 2007). In United States

 v. Toombs, 574 F.3d 1262 (10th Cir. 2009), the Tenth Circuit limited the circumstances in which

 an ends of justice can be granted and emphasized that this should be a rarely used procedural tool.

 The parties must provide the district court a sufficient record to determine why the facts stated in

 a motion for continuance “result[] in the need for additional time.” Id. at 1271. This requires the

 parties to provide extensive and specific information about the need for a continuance, and the

 district court may need to hold a hearing before granting an ends of justice continuance. Id. at 1272-

 73. A district court must also give significant weight to the public’s interest in a speedy trial, and

 the public’s interest is generally served by strict adherence to the requirements of the Speedy Trial

 Act. Id. at 1273.

           The Court finds that the government’s motion to declare this matter a complex case should

 be granted. The government has identified a substantial body of evidence that will be produced to

 defense counsel, including wiretap affidavits and transcripts, investigative reports, and other

 documents in excess of 5,000 pages. The Court is familiar with evidence in this case because it has

 presided over a jury trial involving defendant Victor Porras, and the government’s assessment of the

 amount of evidence is accurate. This case involves thousands of documents, wiretap transcripts, and

 recordings of intercepted phone calls, and much of this evidence is in Spanish.2 It would be

 unreasonable to require defense counsel to prepare for a December 21, 2009 trial, and failure to treat


 2
           The government states that its investigation into this defendant and other unknown
           defendants remains ongoing, and it is possible that more charges will be filed. Dkt. # 539,
           at 2. Even if this is true, the Court is not relying on this as a basis to grant the government’s
           motion, because it is not sufficiently concrete to justify an extension of the Speedy Trial
           Act’s 70 day deadline to try defendant.

                                                      3
Case 4:08-cr-00051-CVE Document 540 Filed in USDC ND/OK on 11/17/09 Page 4 of 5




 this case as a complex case would deny defense counsel adequate time to prepare for trial. In

 addition to the interests of the parties, the Court must also consider whether the ends of justice

 served by extending the 70 day time limit also outweigh the public’s interest in a speedy trial.

 Zedner v. United States, 547 U.S. 489, 498-99 (2006); Williams, 511 F.3d at 1048. While a speedy

 resolution of criminal cases serves the public interest, it does not benefit the public if a complex

 criminal case is rushed and a miscarriage of justice results. In this case, the public’s interest in a

 speedy trial is outweighed by the parties’ need for additional time to prepare for trial, and refusal

 to extend the jury trial beyond the 70 day time period allowed by the Speedy Trial Act would result

 in a miscarriage of justice.

        However, the government’s proposed schedule is based on trial in Summer 2010, and the

 Court finds that the government’s proposed schedule should be modified. Even though there is a

 substantial amount of evidence, the government does not need 30 days to respond to pretrial motions

 or 30 days to prepare for a pretrial conference after the Court’s ruling on pretrial motions. See Dkt.

 # 539,at 4. The Court finds that a trial date of April 19, 2010, with other deadlines set in accordance

 with the Court’s standard scheduling order in a criminal case, will give the parties sufficient time

 to prepare for trial without impairing defendant’s right to a speedy trial or subverting the public’s

 interest in the prompt prosecution of criminal matters.

        IT IS THEREFORE ORDERED that the government’s Unopposed Motion to Declare this

 Case a Complex Case Pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(8)(B)(ii) (Dkt. # 539)

 is granted.




                                                   4
Case 4:08-cr-00051-CVE Document 540 Filed in USDC ND/OK on 11/17/09 Page 5 of 5




       IT IS FURTHER ORDERED that following scheduling order is hereby entered regarding

 defendant Manuel Bonilla:

       Motions due:                                          March 11, 2010

       Responses due:                                        March 25, 2010

       PT/CP/Motions Hearing:                                April 8, 2010 at 10:00 a.m.

       Voir dire, jury instructions, and trial briefs due:   April 12, 2010

       Jury Trial:                                           April 19, 2010 at 9:30 a.m.

       DATED this 17th day of November, 2009.




                                                  5
